
In re Louisiana Construction and Industry SIF; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Ouachita, Office of Workers Compensation 1st District East, No. 12-02961; to the Court of Appeal, Second Circuit, No. 48,-818-WCW.
Granted. Under the facts presented, we find relator has shown good cause for production of claimant’s tax returns. See Stolzle v. Safety &amp; Systems Assurance Consultants, Inc., 02-1197 (La.5/24/02), 819 So.2d 287. Accordingly, the judgment of the court of appeal is reversed, and the judgment of the Office of Workers’ Compensation is reinstated.
HUGHES, J„ would deny.
